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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                 )
IN RE: ORDER REGARDING CERTAIN                   )
       DOCKET MATTERS AND                        )      Misc. No. 2:23-mc-622
       TRANSFERRING/REFERRING                    )
       CERTAIN PROCEEDINGS                       )
                                                 )

                                            ORDER

       In furtherance of the continued sound management of the Court’s dockets and to continue

to facilitate the just determination of every proceeding, after consultation with the Chair of the

Court’s Case Assignment Committee and with the concurrence of the involved judicial officers,

and in accordance with LCvR 40(G) wherein the Court finds exceptional circumstances exist to

transfer/refer the following actions pending on the Court’s Pittsburgh Docket, the below-listed

actions are transferred/referred forthwith to the following judicial officers for further

proceedings, subject to further Order of the Court:

        22-cv-1218/1222/1227/1284/1485               Judge Nora Barry Fischer
        22-cv-1053
        22-cv-146                                    Judge Christy Criswell Wiegand
        21-cv-478
        22-cv-1246                                   Judge Marilyn J. Horan
        20-cv-752                                    Judge William S. Stickman, IV
        22-cv-1628
        22-cv-1736
        19-cv-1286                                   Judge J. Nicholas Ranjan
        21-cv-1808
        22-cv-1319
        22-cv-1234                                   Judge Patricia L. Dodge, added as
                                                     the “referred” Magistrate Judge

       All pending orders, matters and deadlines in such proceedings shall remain in full force

and effect subject to modification by further Order of the now-assigned judicial officer. The
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Clerk shall post this Administrative Order on the docket of each case listed above, and shall

execute the transfer/referral of each such action pursuant to this Order.



                                               s/ Mark R. Hornak
                                              Mark R. Hornak
                                              Chief United States District Judge

Dated: June 15, 2023




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